                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                       3:04cr197


UNITED STATES OF AMERICA                            )
                                                    )
                      vs.                           )
                                                    )                        ORDER
                                                    )
CORY MITCHELL ALEXANDER                             )
                                                    )


       THIS MATTER is before the Court upon motion of the defendant for a continuance of

the sentencing hearing in this matter from May 22, 2006 in the Charlotte Division. (Doc. No. 64).

       For the reasons stated in the defendant’s motion, the Court finds sufficient cause for a

continuance in this matter.

       IT IS THEREFORE ORDERED that the sentencing hearing in the above captioned case

be continued to May 25, 2006 at 11:30 a.m..

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals service, and the U.S.

Probation office.

                                              Signed: May 23, 2006




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